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                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO



UNITED STATES OF AMERICA,

       Plaintiff,

vs.                                                           Case No: 21-MJ-791 CEG

JOHNNY FRANK RODRIGUEZ

       Defendant.


                    NOTICE OF INTENTION TO ENTER GUILTY PLEA

       JOHNNY FRANK RODRIGUEZ, through his attorney of record, Imtiaz Hossain, hereby

gives notice that he intends to enter a guilty plea. All time from August 12, 2021 to the date of the

plea hearing should be excluded from speedy indictment time computation pursuant to 18 U.S.C.

§ 3161(h)(7)(A).

                                                      Respectfully submitted,

                                                      FEDERAL PUBLIC DEFENDER
                                                      506 S. Main, Ste. 400
                                                      Las Cruces, NM 88001
                                                      (575) 527-6930

                                                      Electronically filed 8/12/2021
                                                      By /s/ Imtiaz Hossain
                                                         Imtiaz Hossain
                                                         Assistant Federal Public Defender
